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12
     Attorneys for Plaintiff Ontel Products Corp.
13
14                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CALIFORNIA
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      ONTEL PRODUCTS
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      CORPORATION,                             Case No.
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                               Plaintiff,
19
                                               COMPLAINT FOR COPYRIGHT,
20          v.                                 TRADEMARK, AND PATENT
                                               INFRINGEMENT AND
21
      BROWNSTONE RESOURCES,                    DEMAND FOR JURY TRIAL
22    LLC; MODERN LIFE TREND ; &
      JOHN/JANE DOE 1-10,
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24                             Defendants.
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           Plaintiff Ontel Products Corporation (“Ontel”), having a principal place of
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     business at 21 Law Drive, Fairfield, New Jersey 07004, by its undersigned
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1    attorneys, files this Complaint against Brownstone Resources, LLC, having a listed
2    address of 10802 Capital Avenue, Unit 6A, Garden Grove, California 92843, and
3    Modern Life Trend, having a listed address of 105 Serra Way, #264, Milpitas,
4    California 95035, as well as an unidentified John/Jane Does 1-10 (“Defendants”).
5    In support thereof, Ontel states and alleges as follows:
6                                 I.    INTRODUCTION
7          1.     This case arises out of the unauthorized use and infringement of
8    Ontel’s copyrights, trademarks and patents to its popular and best-selling
9    evaporative air-cooling products sold under the ARCTIC AIR trademarks. In
10   violation of federal and state law and in order to capitalize on the clear success of
11   the Arctic Air products, Defendants have only recently carefully orchestrated and
12   established a network of at least ten websites promoting or selling clear knockoff
13   and infringing versions of Ontel’s ARCTIC AIR branded product. Product ordered
14   from certain websites owned and operated by Defendants demonstrate that they are
15   clear counterfeit versions of Ontel’s Arctic Air Products, copying everything from
16   Ontel’s Trademark to Ontel’s protected Copyrights in the packaging and instruction
17   manuals to Ontel’s product design.
18         2.     Numerous unwitting consumers are being duped into believing they
19   are entering into legitimate transactions with Ontel and/or for the purchase of
20   genuine Arctic Air Products.
21         3.     Defendants’ conduct is directly harming Ontel and consumers as the
22   competing products are likely to create a false impression, or to deceive consumers
23   into believing that they derive from Ontel or there is a connection or association
24   between the infringing products and Ontel. In addition, consumers are likely to
25   attribute poor performance or any defects in the quality of the infringing products
26   to Ontel. Defendants’ infringing conduct irreparably harms Ontel because it places
27   Ontel’s reputation and goodwill out of Ontel’s control and diminishes the value of
28                                             2
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1    Ontel’s valuable intellectual property rights. The harm to Ontel and the general
2    public will continue unless Defendants’ conduct is enjoined by this Court.
3                     II.    PARTIES, JURISDICTION AND VENUE
4          4.       Plaintiff Ontel is a corporation organized under the laws of the State of
5    New Jersey, having a principal place of business at 21 Law Drive, Fairfield, New
6    Jersey 07004.
7          5.       Defendant Brownstone Resources LLC identifies itself as having a
8    principal place of business at 10802 Capital Ave, Unit 6A, Garden Grove, CA
9    92843. Ontel has been unable to verify Defendant Brownstone Resources LLC’s
10   claim that its principal place of business is at the above address. Upon information
11   and belief, Brownstone Resources LLC is an owner and/or operator of one of more
12   of the websites referenced herein.
13         6.       Defendant Modern Life Trend is an unknown corporation and
14   identifies itself as having a listed business address of 427 E 17th St. Costa Mesa,
15   California 92627. Ontel has been unable to verify Defendant Modern Life Trend’s
16   claim that its business address is at the above address. Modern Life Trend also uses
17   mailing addresses of PO Box 4219 Garden Grove, California 92843 and 105 Serra
18   Way #264, Milpitas, CA 95035. Upon information and belief, Modern Life Trend
19   is an owner and/or operator of one or more of the websites referenced herein and
20   also operates under the names “Arctic Air ChillBox” and “ChillBox.”
21         7.       Defendants John/Jane Doe 1-10 are, as of yet, unidentified
22   corporations and/or individuals who established and/or operate the websites listed
23   herein that infringe on Ontel’s trademarks, copyrights, and/or patents, or who
24   manufacture/distribute the products that infringe on Ontel’s trademarks, copyrights
25   and patents.
26         8.       This Court has jurisdiction by virtue of the fact that this is a civil action
27   under the Patent Act, 35 U.S.C. § 1 et seq., Lanham (Trademark) Act, 15 U.S.C. §
28                                                 3
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1    1051 et seq., and the Copyright Act, 17 U.S.C. § 101 et seq., jurisdiction being
2    conferred in accordance with 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).
3    This Court also has pendent jurisdiction over all remaining claims in accordance
4    with 28 U.S.C. § 1367. Venue is proper pursuant to 28 U.S.C. §§ 1391 and 1400(b)
5    as each Defendant resides in this District as they have places of business here.
6           9.      This Court has personal jurisdiction over the Defendants because they
7    do business in the State of California and specifically direct their activities toward
8    the residents of the State of California, including in this District, and reside in this
9    District.
10               III.   FACTS COMMON TO ALL CLAIMS FOR RELIEF
11   A.     ONTEL’S ARCTIC AIR PRODUCTS
12          10.     For over 20 years, Ontel has developed, marketed, and distributed
13   some of the most innovative consumer products on the market, including popular
14   toys, top-selling kitchen utensils, and ground-breaking household items. Ontel’s
15   products are sold in nearly every major retail chain in the United States, and in over
16   30 countries worldwide.
17          11.     Among the products sold by Ontel are the Arctic Air, Arctic Air Ultra,
18   Arctic Air Tower, Arctic Air Freedom, Arctic Air Smart Chill, and Arctic Air Pure
19   Chill (collectively “Arctic Air Products”). The Arctic Air Products are personal air
20   coolers that cool the air.
21          12.     Ontel first sold the original version of its Arctic Air personal cooler in
22   the United States at least as early as February 2018 and, since then, expanded use
23   of the ARCTIC AIR marks to at least five additional products within its line of
24   Arctic Air Products.
25          13.     The Arctic Air Products have become one of Ontel’s best-selling
26   products in the United States and worldwide.
27          14.     The commercial success of the Arctic Air Products began with the
28                                               4
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1    launch of the original Arctic Air evaporative cooler.         Further research and
2    development refined the original Arctic Air evaporative cooler, resulting in Ontel’s
3    launch of additional Arctic Air Products, including the Arctic Air Ultra product.
4    Exemplar images showing some of the Arctic Air Products are depicted below:
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16          15. Ontel’s products, including the Arctic Air Products, are available for
17   purchase at many large retail stores, including Walmart and Target and are also
18   available for purchase online through Ontel and many authorized sellers.
19          16. Ontel’s Arctic Air Products are known to consumers throughout the
20   United States to represent genuine, high quality goods of Ontel. Ontel owns the
21   goodwill associated with its intellectual property rights and has invested significant
22   time and resources securing and protecting these rights worldwide. As of the date
23   of this Complaint, the Arctic Air Pure Chill is the #1 best-selling product on
24   Amazon.com in the portable air conditioners category and products under the
25   ARCTIC AIR brand hold four of the top 11 selling-spots on Amazon.com in the
26   portable air conditioners category.
27          17. Ontel has invested over 8 million dollars in marketing and advertising
28                                             5
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1    its Arctic Air Products, and as a result, the Arctic Air Products are some of the best-
2    selling items in Ontel’s portfolio, having generated over 100 million dollars in sales.
3           18. Unfortunately, as a result of this success, the Arctic Air Products are
4    frequently counterfeited and Ontel has had to expend significant resources
5    combatting knockoff and counterfeit products, as parties like Defendants try to
6    capitalize on Ontel’s success with a line of infringing products.
7    B.    ONTEL’S ARCTIC AIR COPYRIGHTS
8          19.    Ontel is the owner of multiple, valid U.S. copyright registrations for
9    the packaging associated with the Arctic Air Products and separately for the product
10   manuals associated with the Arctic Air Products.
11         20.    Arctic Air’s packaging was registered with the U.S. Copyright Office
12   on February 20, 2018 and granted Registration Number VA 2-092-857 for the 2-D
13   Artwork depicted below (“Arctic Air Packaging”):
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1    See Exhibit A.
2          21.   The Arctic Air Ultra packaging as used with the Arctic Air Ultra
3    Product was registered with the U.S. Copyright Office on May 8, 2019 and granted
4    Registration Number VA 2-149-866 for the 2-D Artwork depicted below (“Arctic
5    Air Ultra Packaging”):
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21   See Exhibit B.
22          22. Ontel obtained U.S. Copyright Registration Number TX 8-922-730 on
23   August 14, 2020 for the product manual that accompanies the Arctic Air Ultra
24   Product units (“Arctic Air Ultra Manual”). See Exhibit C.
25          23. Ontel’s Arctic Air Packaging, Arctic Air Ultra Packaging and Arctic
26   Air Ultra Manual are collectively referred to as the “Arctic Air Copyrighted Works”
27   and Ontel’s copyrights in the Arctic Air Copyrighted Works and the registrations
28                                            7
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1    therefore are collectively referred to as “Arctic Air Copyrights.”
2          24.    Ontel’s Arctic Air Copyrights are valid and subsisting.
3    C.    ONTEL’S ARCTIC AIR TRADEMARKS
4          25.      In addition to owning common law rights in the ARCTIC AIR word
5    mark, Ontel owns federal trademark registrations for ARCTIC AIR as registered
6    with the United States Patent and Trademark Office as follows (“Arctic Air Marks”)
7    (Exhibit D) and uses these trademarks in connection with the sale of Arctic Air
8    Products.
9          26.    Each of Ontel’s registrations for the Arctic Air Marks is valid and
10   subsisting and each registration provides prima facie evidence of the validity of the
11   registered mark, Ontel’s ownership of the mark and Ontel’s exclusive right to use
12   the Arctic Air Marks in commerce on or in connection with the goods identified in
13   the registrations.
14                    Mark                       Registration               Goods
                                                    Details
15
                                              U.S. Reg. Number       Personal portable
16                                            6,161,888              humidifier and air
17
                                              Date: 09/29/2020       purifier in the
                                                                     nature of a
18                                                                   cooling device
19
                                              U.S. Reg. Number       Personal portable
20                                            5,814,181              humidifier and air
21                                            Date: 7/23/2019        purifier in the
                                                                     nature of a
22                                                                   cooling device
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25         27.    Ontel has spent significant time, money and resources developing,

26   marketing, advertising, promoting and selling the Arctic Air Products in interstate

27   commerce and has accrued valuable goodwill associated with the Arctic Air Marks.

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1          28.    The Arctic Air Marks are well known and widely recognized by the
2    consuming public as a designation of source of the goods of Ontel.
3    D.    ONTEL’S ARCTIC AIR PATENTS
4          29.    Ontel’s Arctic Air Products are the result of significant investment in
5    research and development. The Arctic Air Products contain various new, novel, and
6    original features for which Ontel sought and obtained protection from the U.S.
7    Patent and Trademark Office.
8          30.    Ontel owns U.S. Patent No. D852,340 (the “Arctic Air Ultra Design
9    Patent”). See Exhibit E.
10         31.    The Arctic Air Ultra Design Patent was filed on December 21, 2018,
11   and issued on June 25, 2019.
12         32.    The Arctic Air Ultra Design Patent protects the ornamental design for
13   a personal air cooler as described and depicted in the patent and as excerpted below:
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25         33.    Ontel also owns U.S. Patent No. 10,712,029 (the “Arctic Air Ultra
26   Utility Patent”). See Exhibit F.
27         34.    The Arctic Air Ultra Utility Patent was filed on January 3, 2019, and
28                                             9
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1     issued on July 14, 2020.
2           35.      The Arctic Air Ultra Utility Patent protects functional features of a
3     personal air cooler as described and depicted in the patent, including the system for
4     receiving water, delivering it to air entering the device to cool it and then emitting
5     the cooled air, and as excerpted below:
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17          36.      The Arctic Air Ultra Design Patent and Arctic Air Ultra Utility Patent
18    are collectively referred to as “Ontel’s Arctic Air Patents.”
19          37.      Ontel’s Arctic Air Marks, Arctic Air Copyrights and Arctic Air Patents
20    are collectively referred to as “Ontel’s Intellectual Property.”
21    E.    DEFENDANTS’ INFRINGEMENT
22          38.       Upon information and belief Defendants own, created, established,
23    and/or operate a series network of websites that infringe on one or more of Ontel’s
24    Intellectual Property (the “Infringing Sites”), which were only active as of late June.
25          39.      The Infringing Sites that are currently known to Ontel are listed here:
26                 https://topchillbox.com
27                 https://modernlifetrend.com/product-26.php
28                                               10
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1                  https://www.buy-chillbox.com/
2                  https://get-blastultra.com/
3                  https://chillboxportableac.com/
4                  https://chillboxportableac.org/
5                  https://chillboxportableac.net/
6                  https://www.chillbox-official.com/
7                  https://chillboxairconditioner.com/
8                  https://chillboxairconditioner.net/
9           40.      The Infringing Sites infringe one or more of Ontel’s Intellectual
10    Property Rights.
11          41.      The Infringing Sites market, sell or purport to sell a knockoff version
12    of the Arctic Air Ultra Product.
13          42.      The infringing website topchillbox.com contains the “Arctic Air” mark
14    in the website banner (as shown below in the screenshot of that page below together
15    with an enlargement thereof) in connection with the offer for sale and sale of a
16    portable cooling device (as shown in the succeeding pages below):
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27    See Exhibit G.
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1           43.   The contact information for the company providing the “Arctic Air
2     Chill Box” Product available via this website is “Chill Box 105 Serra Way #264,
3     Milpitas, CA 95035” with a customer service email address of cs@topchillbox.com.
4     See Exhibit H.
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11          44.   The website also contains a “Contact Us” address of “Modern Life
12    Trend, PO Box 4219 Garden Grove, CA 92843”:
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1     Id.
2            45.   The infringing website, modernlifetrend.com/product-26.php, offers
3     for sale the following portable air-cooling product under the name “Portable AC
4     V3”:
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17    See Exhibit I.
18           46.   The contact information for the company providing the Portable AC
19    V3 is “Modern Life Trend, Brownstone Resources 427 E 17th St. Costa Mesa, CA
20    92627, USA, with an email address of cs@modernlifetrend.com.”
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26    Id.
27           47.   A     product     was      ordered     and      obtained     from
28                                           14
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1     modernlifetrend.com/product-26.php and photographs of the received product are
2     captured below (“Infringing Product”):
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1           48.     A photograph of the copied instruction manual received with the
2     Infringing Product is shown below (“Infringing Manual”):
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18     See Exhibit J.
19          49.     The Infringing Product is a direct counterfeit of Ontel’s Arctic Air
20    Ultra Product and directly copies Ontel’s Arctic Air Trademarks and Arctic Air
21    Copyrights.
22          50.     The Infringing Arctic Air Product contained the following sender
23    address on the mailing envelope for “Modern Life”:
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1           51.   The email receipt from the purchase of the Infringing Product
2     identified “Brownstone Resources” as the recipient of the payment for the
3     Infringing Product:
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17    See Exhibit K.
18          52.   Upon information and belief, Modern Life Trend and Brownstone
19    Resources operate together to sell Infringing Products with the Infringing Manual.
20          53.   The infringing website www.buy-chillbox.com offers for sale a similar
21    portable air-cooling product. The purchase link provided on this website redirects
22    the user to topchillbox.com and contains the following images:
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13    See Exhibit L.
14          54.    The contact information associated with this website and sale of the
15    infringing products is an email address of cs@topchillbox.com.” See Exhibit M.
16          55.    The copyright notice at the bottom of the redirected “contact us”
17    webpage contains “© 2021 Arctic Air ChillBox” and “Arctic Air ChillBox” as the
18    company name, incorporating Ontel’s Arctic Air Trademarks in their entirety:
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24    See Exhibit N.
25          56.    The infringing website get-blastultra.com use the term “Arctic Air” on
26    its website as shown below together with an enlarged view of the heater in
27    connection with its offer for sale and sale of an “Arctic Air Chillbox Product”:
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17    See Exhibit O.
18          57.    The “Order Now” button on this website redirects the user to
19    https://topchillbox.com/AC/v1/v2.html?inst=60526fd56283d60015adec8a&id=60
20    ba74012fd1a800156403ca&CLICK_ID=xxclickidxx&c1=xxc1xx&c2=xxc2xx&u
21    id=4009&oid=563&affid=1362&AFFID=1362&utm_campaign=CPA_1362&utm
22    _source=1362&sub1=ts-1_of-134_net-10_lt-hp_geo-HP&mvprm=aff_sub where
23    the product is available for purchase:
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10       See Exhibit P.
11          58.   The “Contact Us” link on this website diverts the user to a webpage
12    with the following contact information “Modern Life Trend, 105 Serra Way #264
13    Milpitas, CA 95035” with an email address of cs@topchillbox.com. Id.
14          59.   The infringing website chillboxportableac.com sells a similar “Chill
15    Box” portable air-cooling device. The “Order Now” button diverts the user to the
16    website
17    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
18    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1365&
19    AFFID=1365&utm_campaign=CPA_1365&utm_source=1365&sub3=&sub2=w4
20    2uhksjgnojpea923pctfnu&aff_sub4=ROI%20Affiliate where the below product is
21    available for purchase:
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     Case 8:21-cv-01359-JVS-DFM Document 1 Filed 08/17/21 Page 22 of 41 Page ID #:22




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13    See Exhibit Q.
14          60.    The contact information link for this infringing website diverts to
15    topchillbox.com/AC/contact.html, which is the same contact website referenced in
16    Paragraph 46 above, and contains “Modern Life Trend, 105 Serra Way #264
17    Milpitas, CA 95035” with an email address of cs@topchillbox.com” as the contact
18    information. The copyright notice at the bottom of the contact website contains “©
19    2021 Arctic Air Chillbox”. Id.
20          61.    The infringing website Chillboxportableac.org offers to sell a similar
21    infringing air cooling product and the Order link on the website diverts the user to
22    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
23    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1365&
24    AFFID=1365&utm_campaign=CPA_1365&utm_source=1365&sub3=&sub2=w1
25    efekt56amocea9i5pal3cc&aff_sub4=ROI%20Affiliate          where the product        is
26    available for purchase:
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12    See Exhibit R.
13          62.    The “Contact Us” link on this website diverts the user to
14    topchillbox.com/AC/contact.html with the following contact information “Modern
15    Life Trend, 105 Serra Way #264 Milpitas, CA 95035” with an email address of
16    cs@topchillbox.com. The copyright notice at the bottom of the contact website
17    contains “© 2021 Arctic Air Chillbox” and the company name is listed as “Arctic
18    Air Chillbox” at the bottom of the website. Id.
19          63.    The infringing website chillboxportableac.net offers to sell a similar
20    infringing air cooling product and the “Order” link on the website diverts the user
21    to
22    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
23    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1365&
24    AFFID=1365&utm_campaign=CPA_1365&utm_source=1365&sub3=&sub2=w4
25    ui9nd5ikuibfa9270dmoue&aff_sub4=ROI%20Affiliate where the product is
26    available for purchase:
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28                                             23
     Case 8:21-cv-01359-JVS-DFM Document 1 Filed 08/17/21 Page 24 of 41 Page ID #:24




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12    See Exhibit S.
13          64.    The “Contact Us” link on this website diverts the user to same website
14    as   referenced     in   paragraphs     46,       51,   and     53   herein,   namely
15    topchillbox.com/AC/contact.html with the following contact information “Modern
16    Life Trend, 105 Serra Way #264 Milpitas, CA 95035” with an email address of
17    cs@topchillbox.com. The copyright notice at the bottom of the contact website
18    contains “© 2021 Arctic Air Chillbox” and the company name at the bottom of the
19    website is listed as “Arctic Air ChillBox.” Id.
20          65.    The infringing website www.chillbox-official.com offers to sell a
21    similar infringing air cooling product and the “Order” link available on the website
22    diverts                       the                        user                      to
23    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
24    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1364&
25    AFFID=1364&utm_campaign=CPA_1364&utm_source=1364&sub1=130306680
26    6901347972&flux_sess=185ff59fa0d4d1b352536634d105f056 where the product
27    is available for purchase:
28                                             24
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12    See Exhibit T.
13          66.    The “Contact Us” link on this website diverts the user to the same
14    website as listed above in paragraphs 46, 51, 53 and 55. Namely,
15    topchillbox.com/AC/contact.html with the following contact information “Modern
16    Life Trend, 105 Serra Way #264 Milpitas, CA 95035” with an email address of
17    cs@topchillbox.com. The copyright notice at the bottom of the contact website
18    contains “© 2021 Arctic Air Chillbox” and the company name listed is “Arctic Air
19    ChillBox.” Id.
20          67.    The infringing website chillboxairconditioner.com offers to sell a
21    similar infringing air cooling product and the “Order” link available on the websites
22    diverts                                                                            to
23    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
24    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1365&
25    AFFID=1365&utm_campaign=CPA_1365&utm_source=1365&sub3=&sub2=wg
26    hjovudeoajpfa9igoltrh2&aff_sub4=ROI%20Affiliate where the product is available
27    for purchase:
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13    See Exhibit U.
14          68.    The “Contact Us” link on this website diverts the user to the same
15    webpage     listed   herein   at   paragraphs   46,   51,   53,     55,    57.   Namely
16    topchillbox.com/AC/contact.html with the following contact information “Modern
17    Life Trend, 105 Serra Way #264 Milpitas, CA 95035” with an email address of
18    cs@topchillbox.com. The copyright notice at the bottom of the contact website
19    contains “© 2021 Arctic Air Chillbox” and the company name listed is “Arctic Air
20    ChillBox.” Id.
21          69.    The infringing website chillboxairconditioner.net offers to sell a
22    similar infringing air cooling product and the “Order” link on the website diverts to
23    https://topchillbox.com/AC/checkout.html?inst=60526fd56283d60015adec8a&id
24    =60ba73de2fd1a8001564036a&c1=xxc1xx&c2=xxc2xx&oid=563&affid=1365&
25    AFFID=1365&utm_campaign=CPA_1365&utm_source=1365&sub3=&sub2=w8
26    3g55rafk0s4fa9ihpus81s&aff_sub4=ROI%20Affiliate             where    the    product   is
27    available for purchase:
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13    See Exhibit V.
14          70.    The “Contact Us” link on this website diverts the user to the same
15    website referenced in paragraphs 46, 51, 53, 55, 57, 59 herein, namely,
16    topchillbox.com/AC/contact.html with the following contact information “Modern
17    Life Trend, 105 Serra Way #264 Milpitas, CA 95035” with an email address of
18    cs@topchillbox.com. The copyright notice at the bottom of the contact website
19    contains “© 2021 Arctic Air Chillbox” and the company name listed is “Arctic Air
20    ChillBox.” Id.
21          71.    Upon information and belief, all of the aforementioned Infringing Sites
22    are owned and/or controlled by the same entities as the contact information for each
23    identifies a single company operating under the name “Modern Life Trend” and the
24    Infringing Sites are connected to one another and part of the same enterprise.
25          72.    Accordingly, each of the Defendants is part of the same infringing
26    enterprise and directly liable for its/his/her own infringement, and indirectly liable
27    for the direct infringement of each of the other Defendants.
28                                              27
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1            73.    Upon information and belief, when a consumer purchases an
2     Infringing Product from one of the Infringing Sites, Defendants ship a counterfeit
3     copy of Ontel’s Arctic Air Product to the consumer. As a result, consumers
4     mistakenly believe they had entered into a legitimate transaction with Ontel or an
5     authorized Ontel distributor to purchase a genuine Ontel Product.
6                  COUNT I: VIOLATION OF 17 U.S.C. §§ 101 et seq. –
7                         COPYRIGHT INFRINGEMENT
8            74.    Ontel incorporates all preceding paragraphs of this Complaint as if set

9     forth in full herein.

10           75.    Ontel is the owner of Ontel’s Arctic Air Copyrights, including the

11    Certificates of Registration corresponding to each.

12           76.    Defendants violated Ontel’s exclusive rights in Ontel’s Arctic Air

13    Copyrights in the United States by:

14           a)     Reproducing Ontel’s Arctic Air Copyrighted Works, including

15    portions thereof;

16           b)     Preparing derivative works based on Ontel’s Artic Air Copyrighted

17    Works;

18           c)     Distributing copies of Ontel’s Artic Air Copyrighted Works to the

19    public, including portions thereof;

20           d)     Publicly displaying Ontel’s Artic Air Copyrighted Works; and

21           e)     Other acts of infringement as revealed by discovery.

22           77.    As a representative example, Defendants infringed on Ontel’s Arctic

23    Air Copyrights by using direct copies of Ontel’s Arctic Air Copyrighted Works in

24    connection with the manufacture and sale of Defendants’ infringing products.

25           78.    Defendants’ improper use of Ontel’s Arctic Air Copyrighted Works

26    was done without Ontel’s permission and does not constitute fair use of Ontel’s

27    Arctic Air Copyrights.

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1            79.    Defendants’ above-described acts constitute copyright infringement in
2     violation of Section 501 of the Copyright Act, 17 U.S.C. § 501.
3            80.    Defendants’ infringement of the Arctic Air Copyrights was committed
4     willfully. At a minimum, Defendants’ infringement was committed with actual
5     knowledge of, or with reckless disregard for or willful blindness to, the fact that
6     Defendants are infringing on Ontel’s Arctic Air Copyrights.
7            81.    As a result of Defendants’ wrongful conduct, Ontel has been, and will
8     continue to be, damaged.
9            82.    Defendants’ actions described above have caused and will continue to
10    cause irreparable damage to Ontel, for which Ontel has no adequate remedy at law.
11    Unless Defendants are restrained by this Court from continuing its infringement of
12    Ontel’s Arctic Air Copyrights, these injuries will continue to occur in the future.
13                   COUNT II: VIOLATION OF 15 U.S.C. § 1114 –
14           INFRINGEMENT AND COUNTERFEITING OF FEDERALLY
                        REGISTERED TRADEMARKS
15
             83.    Ontel incorporates all preceding paragraphs of the Complaint as if set
16
      forth in full herein.
17
             84.    Defendants have infringed and continue to infringe upon Ontel’s
18
      federally registered Arctic Air Marks through Defendants’ use in commerce of a
19
      reproduction, counterfeit, copy, and/or colorable imitation of the Arctic Air Marks
20
      in connection with the sale, offering for sale, distribution, or advertising of its own
21
      evaporative air-cooling products.
22
             85.    Defendants’ use of “Arctic Air” on the Infringing Sites and
23
      incorporation of ARCTIC AIR on the Infringing Products is identical to all of
24
      Ontel’s Arctic Air Marks and, in particular, is indistinguishable to Ontel’s registered
25
      Arctic Air      Marks,   as   depicted    in   U.S.   Registration   No.    6,161,888
26
      (                              ):
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28                                              29
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2             Ontel’s Arctic Air                     Defendants’ Infringing Product
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14          86.     Defendants have used and continue to infringe upon and counterfeit
15    Ontel’s Arctic Air Marks without approval, and in a manner that is likely to cause
16    confusion, to cause mistake, or to deceive consumers as to the origin of Defendants’
17    evaporative air-cooling products or as to their affiliation, connection or association
18    with Ontel.
19          87.     Defendants do not have permission to use Ontel’s Arctic Air Marks.
20          88.     Defendants’ actions as set forth in this Complaint constitute trademark
21    infringement and counterfeiting in violation of Section 32 of the Lanham
22    (Trademark) Act 15 U.S.C. § 1114.
23          89.     Defendants’ infringement and counterfeiting of Ontel’s Arctic Air
24    Marks was committed with knowledge that the imitation of Ontel’s Arctic Air
25    Marks, including by copying the style and font that appears in Ontel’s Trademark
26    Registration No. 6,161,888 and the blue color variations within each letter as
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1     depicted on Ontel’s Arctic Air Products, would cause actual confusion, mistake, or
2     deception of consumers.
3            90.    Defendants intentionally and willfully infringed and counterfeited
4     Ontel’s Arctic Air Marks. At a minimum, Defendants were willfully blind to the
5     fact that their use of the Arctic Air Mark infringed upon and were counterfeits of
6     Ontel’s Arctic Air Marks.
7            91.    As a result of Defendants’ unlawful conduct, Ontel has been damaged,
8     has suffered irreparable harm, and is likely to continue to suffer irreparable harm
9     unless Defendants’ actions are enjoined by this Court.
10                 COUNT III: VIOLATION OF 15 U.S.C. §1125 –
11       FALSE DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
12
             92.    Ontel incorporates herein all preceding paragraphs of this Complaint
13
      as if set forth in full herein.
14
             93.    Defendants are offering for sale, selling and marketing evaporative air-
15
      cooling products that compete with Ontel’s Arctic Air Products.
16
             94.    Defendants’ use and continued use in commerce of images, words,
17
      terms, names, false or misleading descriptions of fact, false designations of origin,
18
      and false or misleading representations of fact in connection with Defendants’
19
      offering for sale, sale and promotion of Defendants’ evaporative air-cooling
20
      products has caused and is likely to cause confusion, mistake or deception as to the
21
      origin, sponsorship, or approval of Defendants’ products with or by Ontel.
22
             95.    Defendants’ unauthorized use in commerce of the Arctic Air Marks on
23
      or in connection with its evaporative air-cooling products constitutes a false
24
      designation of origin and unfair competition in violation of Section 43(a) of the
25
      Lanham Act, 15 U.S.C. § 1125(a).
26
             96.    Defendants are aware that Ontel owns Ontel’s Intellectual Property
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28                                              31
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1     and that Defendants were infringing Ontel’s Intellectual Property.
2            97.    Defendants’ actions were taken with knowledge and with the intent to
3     cause confusion or mistake and to deceive the public as to the source, origin,
4     sponsorship or approval of Defendants’ products.
5            98.    Defendants acted with knowledge and with the intent that their actions
6     would confuse third parties into believing they were purchasing genuine Ontel
7     products or purchasing products associated with, or affiliated or sponsored by,
8     Ontel. Defendants willfully and in bad faith committed such acts with the intent to
9     confuse, mislead, or deceive consumers as to the origin, source, sponsorship, or
10    affiliation of its products and with the intent to trade off of the reputation and
11    goodwill of Ontel. At a minimum, Defendants should have known that their
12    conduct was and is unlawful, that they were unfairly competing with Ontel and
13    committing acts of false designation of origin.
14           99.    As a direct and proximate result of Defendants’ acts of unfair
15    competition and false designation of origin, description and representation, Ontel
16    has suffered injury, including loss of exclusive control over its Arctic Air
17    Trademarks and damage to the value of its trademarks, reputation and goodwill.
18           100. This injury to Ontel is irreparable. Defendants continue to commit the
19    acts described above, and unless restrained and enjoined, will continue to do so, to
20    Ontel’s further irreparable injury.     Ontel’s remedy at law is inadequate to
21    compensate it for the injuries inflicted and threatened by Defendants.
22                                     COUNT IV:
23                            COMMON LAW UNFAIR COMPETITION
24           101. Ontel incorporates all preceding paragraphs of this Complaint as if set

25    forth in full herein.

26           102. Defendants and Ontel sell competing evaporative air-cooling products.

27           103. Defendants have engaged in trade and commerce in California as

28                                             32
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1     described above.
2            104. Defendants have willfully and knowingly engaged in unfair acts or
3     practices and unfair methods of competition, including through the bad faith and
4     unauthorized use of the Arctic Air Marks and counterfeiting.
5            105. Defendants’ unfair acts or practices and unfair methods of competition
6     are likely to cause confusion, mistake, or deception as to the source or origin of the
7     Defendants’ products or their authorization or sponsorship by Ontel.
8            106. Defendants’ conduct has caused, and continues to cause irreparable
9     injury to Ontel, including to Ontel’s reputation and goodwill. Ontel has no adequate
10    remedy at law. Unless such unauthorized use is enjoined, Ontel will continue to be
11    irreparably harmed.
12           107. Defendants’ conduct, as described above, has been willful, wanton,
13    reckless, and in total disregard of Ontel’s rights.
14           108. By reason of Defendants’ misconduct, Ontel has suffered, and will
15    continue to suffer, monetary damages and loss of goodwill.
16                COUNT V: COMMON LAW TRADEMARK INFRINGEMENT
17
             109. Ontel incorporates all preceding paragraphs of this Complaint as if set
18
      forth in full herein.
19
             110. Defendants and Ontel sell competing evaporative air-cooling products.
20
             111. Ontel has continuously and exclusively used in California and
21
      nationally the Arctic Air Marks on and in connection with the sale of evaporative
22
      air-cooling products since at least early 2018.
23
             112. Defendants have misappropriated Ontel’s Arctic Air Marks by using
24
      them on, or in connection with the sale of, unauthorized evaporative air-cooling
25
      products.
26
             113. Defendants have committed trademark infringement, counterfeiting
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28                                              33
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1     and unfair competition as described above.
2            114. Defendants’ trademark infringement and unfair competition is likely
3     to cause confusion, mistake, or deception as to the source or origin of their products
4     and/or authorization or sponsorship of those products by Ontel and, as such, has
5     diverted sales from Ontel.
6            115. Defendants’ conduct has caused, and is continuing to cause, irreparable
7     injury to Ontel, including lost sales and damage to Ontel’s reputation and goodwill,
8     and Ontel has no adequate remedy at law. Unless such unauthorized use is enjoined
9     Ontel will continue to be irreparably harmed.
10           116. Defendants’ conduct, as described above, has been willful, wanton,
11    reckless, and in total disregard to Ontel’s rights.
12           117. By reason of Defendants’ misconduct, Ontel has suffered, and will
13    continue to suffer, monetary damages and loss of goodwill.
14                             COUNT VI: UNJUST ENRICHMENT
15           118. Ontel incorporated all preceding paragraphs of this Complaint as if set
16    forth in full herein.
17           119. As detailed above, Ontel expended considerable time and resources in
18    creating, developing and maintaining the Arctic Air Marks. The undertaking
19    required considerable research, time, strategic planning, and evaluation of market
20    and economic trends, new technologies, innovations and their impact on the
21    personal cooling device industry.
22           120. By virtue of its significant efforts and labor embodied in the Arctic Air
23    Marks, the use of such marks by Defendants conferred a benefit on Defendants,
24    whereby Defendants took their own products, mimicked the same look and feel of
25    Ontel’s genuine products, and sold and promoted those products under the Arctic
26    Air Marks without authorization from Ontel.
27           121. But for Defendants’ misappropriation of Ontel’s intellectual property
28                                               34
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1     and associated goodwill, Defendants would have had to expend considerable time
2     and expense in independent research, development, marketing and advertising of
3     their evaporative air cooling products in order to enter the relevant market and
4     directly compete with Ontel.
5             122. Defendants have been unjustly enriched by retaining this benefit
6     without providing Ontel any payment. As a result of Defendants’ wrongful acts,
7     Ontel has suffered and will continue to suffer significant commercial, monetary and
8     other damages.
9
                            COUNT VII: PATENT INFRINGEMENT --
                              U.S. DESIGN PATENT NO. D852,340
10
11            123. Ontel incorporates all paragraphs of this Complaint as if set forth in

12    full herein.

13            124. Upon information and belief Defendants had and have knowledge of

14    Ontel’s Arctic Air Ultra Design Patent as of the date it first offered for sale or sold

15    the Infringing Product.

16            125. Defendants have actual notice of Ontel’s Arctic Air Ultra Design

17    Patent at least as early as the filing of this Original Complaint.

18            126. Ontel marks the Arctic Air Products as patented pursuant to 35 U.S.C.

19    §287.

20            127. Defendants are directly infringing or inducing infringement of Ontel’s

21    Arctic Air Ultra Design Patent including by making, using, offering to sell, selling,

22    or importing into the United States, infringing products.

23            128. With knowledge of Ontel’s Arctic Air Ultra Design Patent, Defendants

24    induced and/or contributed to infringement of Ontel’s Arctic Air Ultra Design

25    Patent.

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1             129. Defendants’ “Arctic Air ChillBox” and “ChillBox” products infringe
2     the single claim of the Arctic Air Ultra Design Patent as they are virtually identical
3     in appearance.
4             130. Defendants are infringing on Ontel’s Arctic Air Ultra Design Patent
5     by manufacturing, marketing, advertising, offering for sale, and selling infringing
6     air cooler products, including the Arctic Air ChillBox and the ChillBox products
7     with knowledge and with the intent that third parties will use those products.
8             131. Upon information and belief, with knowledge of Ontel’s Arctic Air
9     Ultra Design Patent, Defendants induced and/or contributed to infringement of
10    same.
11            132. Examples of Defendants’ infringement of the Arctic Air Ultra Design
12    Patent include:
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14
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                        Arctic Air Ultra Design        Arctic Air ChillBox and
20                              Patent                        ChillBox
21
22            133. Defendants’ infringement was undertaken without permission or
23    license to use Ontel’s Arctic Air Ultra Design Patent.
24            134. Ontel has been damaged as a result of Defendants’ infringement as
25    described herein.
26            135. Ontel is entitled to and claims all damages allowable by law including
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28                                                36
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1     adequate compensation for the infringement, costs, interest, attorney fees, lost
2     profits and/or Defendants’ profits (for which Ontel demands an equitable
3     accounting).
4            136. Ontel further seeks a declaration by the Court that it is entitled to a
5     finding that this case is exceptional and enhance damages up to three times the
6     amount found or assessed pursuant to 35 U.S.C. § 284.
7                          COUNT VII: PATENT INFRINGEMENT --
                               U.S. PATENT NO. 10,712,029
8
            137.     Ontel incorporates all paragraphs of this Complaint as if set forth in
9
      full herein.
10
             138. Upon information and belief Defendants had and have knowledge of
11
      Ontel’s Arctic Air Ultra Utility Patent as of the date it first sold or offered for sale
12
      the Infringing Product.
13
             139. Defendants have actual notice of Ontel’s Arctic Air Ultra Utility Patent
14
      at least as early as the filing of this Original Complaint.
15
             140. Defendants are directly infringing or inducing infringement of Ontel’s
16
      Arctic Air Ultra Utility Patent including by making, using, offering to sell, selling,
17
      or importing into the United States, infringing products.
18
             141. With knowledge of Ontel’s Arctic Air Ultra Utility Patent, Defendants
19
      induced and/or contributed to infringement of Ontel’s Arctic Air Ultra Utility
20
      Patent.
21
             142. Defendants’ “Arctic Air ChillBox” and “ChillBox” products infringe
22
      at least claims 1 and 13 of the Arctic Air Ultra Utility Patent as they are virtually
23
      identical in appearance.
24
             143. Defendants are infringing on Ontel’s Arctic Air Ultra Utility Patent by
25
      manufacturing, marketing, advertising, offering for sale, and selling infringing air
26
      cooler products, including the Arctic Air ChillBox and the ChillBox products with
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28                                               37
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1     knowledge and with the intent that third parties will use those products.
2             144. Upon information and belief, with knowledge of Ontel’s Arctic Air
3     Ultra Utility Patent, Defendants induced and/or contributed to infringement of
4     same.
5             145. Examples of Defendants’ infringement of the Arctic Air Ultra Utility
6     Patent include:
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                   Arctic Air Ultra Utility
14                         Patent
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21                                                   Arctic Air ChillBox and
                                                            ChillBox
22
23
24            146. Defendants’ infringement was undertaken without permission or
25    license to use Ontel’s Arctic Air Ultra Utility Patent.
26            147. Ontel has been damaged as a result of Defendants’ infringement as
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28                                              38
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1     described herein.
2           148. Ontel is entitled to and claims all damages allowable by law including
3     adequate compensation for the infringement, costs, interest, attorney fees, lost
4     profits and/or Defendants’ profits (for which Ontel demands an equitable
5     accounting).
6           149. Ontel further seeks a declaration by the Court that it is entitled to a
7     finding that this case is exceptional and enhance damages up to three times the
8     amount found or assessed pursuant to 35 U.S.C. § 284.
9                                     REQUEST FOR RELIEF
10          WHEREFORE, Ontel respectfully requests that this Honorable Court:
11          a)       Enter judgment against Defendants finding that: (i) Defendants have
12    engaged in willful and intentional copyright infringement in violation of Section
13    501 of the Copyright Act (17 U.S.C. § 501); (ii) Defendants have engaged in willful
14    and intentional trademark infringement and counterfeiting in violation of Sections
15    32 and 43(a) of the Lanham Act (15 U.S.C. §§ 1114 and 1125); (iii) Defendants
16    have engaged in willful and intentional unfair competition in violation of N.J.S.A.
17    § 56:4-1 et seq.; (iv) Defendants have engaged in willful and intentional trademark
18    infringement and unfair competition in violation of California common law; and (v)
19    Defendants have been unjustly enriched in violation of California common law; (vi)
20    Defendants have engaged in action to pass off Defendants’ products as Ontel
21    products; and (vii) Defendants have engaged in willful infringement of Ontel’s
22    Arctic Air Patents, including through the advertising, marketing, sale, attempted
23    sale, or importation of the “Arctic Air ChillBox,” the “ChillBox,” or similar
24    infringing products.
25          b)       Issue a temporary restraining order and preliminary and permanent
26    injunction prohibiting Defendants and each of their agents, servants, employees,
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28                                             39
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1     attorneys, and any other persons who are in active concert or participation with them
2     from:
3                    i.     Using Ontel’s Artic Air Copyrights in connection with the
4             offering for sale or advertising of any products and/or creating deriviate
5             works of Ontel’s Arctic Air Copyrights;
6                   ii.     Infringing upon or counterfeiting Ontel’s Arctic Air Marks;
7                  iii.     Engaging in any action to pass off Defendants’ products as
8             Ontel products;
9                  iv.      Engaging in further actions to infringe Ontel’s Arctic Air
10            Patents, including prohibiting the advertising, marketing, sale, attempted
11            sale, or importation of the “Arctic Air ChillBox,” the “ChillBox,” or similar
12            infringing products;
13                  v.      Continuing to operate the Infringing Sites, and any similar sites;
14            c)      Requiring Defendants to account for profits;
15            d)      Award Ontel its actual damages, or in the alternative, statutory
16    damages for willful copyright infringement pursuant to 17 U.S.C. § 504;
17            e)      Award Ontel its actual damages, or in the alternative, statutory
18    damages for willful trademark counterfeiting pursuant to 15 U.SC. § 1117(c);
19            f)      Award Ontel an amount equal to Defendants’ profits and all damages
20    sustained by Ontel for Defendants’ violation of 15 U.S.C. § 1125(a);
21            g)      Award Ontel an amount equal to adequate compensation for
22    Defendants’ patent infringement, pursuant to 35 U.S.C. § 284;
23            h)      Award Ontel the costs associated with bringing this action; and
24            i)      Award Ontel interest and reasonable attorneys’ fees pursuant to one or
25    more of the Copyright Act, the Lanham Act and/or the Patent Act.
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28                                                40
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1                                    JURY DEMAND
2            Plaintiff Ontel Products Corporation hereby demands a trial by jury of all
3     issues so triable.
4
5
      Dated: August 17, 2021
                                            Respectfully submitted,
6
7
                                            /s/ Steven A. Caloiaro
                                            DICKINSON WRIGHT LLC
8                                           Steven A. Caloiaro, Bar No. 284410
9                                           Email: SCaloiaro@dickinsonwright.com
                                            100 West Liberty Street, Suite 940
10                                          Reno, Nevada 89501-1991
                                            Tel: (775) 343-7500
11                                          Fax: (844) 670-6009
12
                                            Attorneys for Plaintiff
13
14
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